     Case 3:22-cv-00741-JO-BLM Document 37-1 Filed 02/12/24 PageID.1042 Page 1 of 4




 1
      TARA K. MCGRATH
 2
      United States Attorney
      KATHERINE PARKER
 3    Assistant United States Attorney
      Chief, Civil Division
 4    880 Front Street, Room 6293
      San Diego, CA 92101
 5
      Telephone: (619) 557-7140
 6
      BRIAN BOYNTON
 7    Principle Deputy Assistant Attorney General
      ERIC KAUFMAN-COHEN
 8    Attorney in Charge, West Coast Office
      Torts Branch, Civil Division, Admiralty
 9
      KYLE FRALICK
10    Trial Attorney
      U.S. Department of Justice
11    P.O. Box 36028
      450 Golden Gate Avenue, Room 7-5395
12    San Francisco, California 94102-3463
      Telephone: (415) 436-6648
13
                  (415) 436-6647
14
      E-mail: eric.kaufman-cohen@usdoj.gov
               kyle.fralick@usdoj.gov
15
      Attorneys for Defendant
16    United States of America
17
                         UNITED STATES DISTRICT COURT
18

19
                       SOUTHERN DISTRICT OF CALIFORNIA
20
      CALIFORNIA MARINE CLEANING,) Case No.: 3:22-cv-741-LAB-BLM
21    INC.                          )
                                    ) IN ADMIRALTY
22
                  Plaintiff,        )
23         vs.                      )
24
                                    ) DECLARATION OF KYLE FRALICK
      UNITED STATES OF AMERICA, ) IN SUPPORT OF THE UNITED
25    through the DEPARTMENT OF THE ) STATES’ MOTION IN LIMINE NO. 1
26    NAVY,                         ) TO EXCLUDE NON-DISCLOSED
                  Defendant.        ) WITNESSES
27
                                    )
28
      DECLARATION OF
      KYLE FRALICK                                         Case No. 3:22-cv-741-LAB-BLM
     Case 3:22-cv-00741-JO-BLM Document 37-1 Filed 02/12/24 PageID.1043 Page 2 of 4




 1
            I, Kyle Fralick hereby declare based upon personal knowledge, or information
 2
      provided to me in my official capacity, as follows:
 3
            1. I am a Trial Attorney for the U.S. Department of Justice West Coast Office,
 4
      Civil Division, Torts Branch, Admiralty Litigation Section. Along with the
 5    Attorney-in-Charge of the office, Mr. Eric Kaufman-Cohen, I represent the United
 6
      States in this matter.
 7          2. On August 30, 2022, Counsel for Plaintiff California Marine Cleaning, Inc.
 8    (“Cal Marine”) served its initial disclosures on the United States, a true and correct
 9    copy of which is attached hereto as Exhibit “A.”
10          3. On December 4, 2023, Cal Marine served its Pretrial Disclosures on the
11    United States, identifying and disclosing for the first time several witnesses. On
12    December 4, 2023, the United States sent Counsel for Cal Marine a letter regarding
13    these disclosures, a true and correct copy of which is attached hereto as Exhibit “B.”
14          4. At 5:45 p.m. on January 19, 2024, Cal Marine served its Supplement to
15    Initial Disclosures Under Federal Rule of Civil Procedure 26. Attached hereto as
16    Exhibit “C” is a true and correct said disclosure.
17          5. On August 30, 2022, as part of its initial disclosures, Cal Marine produced
18    to the United States a string of emails dated from September to October 2020,
19    between Francisco Medina and Matt Carr concerning Cal Marine’s lost property, a
20    true and correct copy of which is attached hereto as Exhibit “D.”
21          5. Through attorneys at the Department of the Navy, on December 1, 2023,
22    Counsel for the United States learned that Counsel for Cal Marine had contacted
23    Vice Admiral Scott Conn via social media and by letter. The Navy forwarded two
24    communications Vice Admiral Conn received from Cal Marine’s Counsel, true and
25    correct copies of which are attached hereto as Exhibits “E” and “F.”
26    //
27    //
28    //
      DECLARATION OF
      KYLE FRALICK                            1                   Case No. 3:22-cv-741-LAB-BLM
     Case 3:22-cv-00741-JO-BLM Document 37-1 Filed 02/12/24 PageID.1044 Page 3 of 4




 1
            In accordance with 28 U.S.C. § 1746, I declare under penalty of perjury that
 2
      the foregoing is true and correct.
 3

 4
      Executed on: February 12, 2024
 5

 6
                                     s/ Kyle Fralick
 7                                     KYLE FRALICK
 8

 9

10

11

12

13

14

15

16

17

18

19

20

21

22

23

24

25

26

27

28
      DECLARATION OF
      KYLE FRALICK                          2                  Case No. 3:22-cv-741-LAB-BLM
     Case 3:22-cv-00741-JO-BLM Document 37-1 Filed 02/12/24 PageID.1045 Page 4 of 4




 1
                              CERTIFICATE OF SERVICE
 2
            I hereby certify that, on February 12, 2024, a true and correct copy of the
 3
      foregoing DECLARATION OF KYLE FRALICK IN SUPPORT OF THE UNITED
 4
      STATES’ MOTION IN LIMINE NO. 1 TO EXCLUDE NON-DISCLOSED
 5
      WITNESSES was served electronically through CM/ECF on:
 6

 7
            WALT PENNINGTON
 8          wpennington@pennfirm.com
            PENNINGTON LAW FIRM
 9

10          Attorney for Plaintiff
11
            CALIFORNIA MARINE
            CLEANING, INC.
12

13
                                     /s/Kyle Fralick
14
                                     KYLE FRALICK
15

16

17

18

19

20

21

22

23

24

25

26

27

28
      DECLARATION OF
      KYLE FRALICK                         3                   Case No. 3:22-cv-741-LAB-BLM
